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                    Exhibit 1
                 Declarations of
                 Clayton Cramer
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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

                                  )
  JASON WOLFORD, ALISON           )
  WOLFORD, ATOM KASPRZYCKI,       )
  HAWAII FIREARMS COALITION       )
                                  )
  Plaintiffs,                     )
                                  ) Civil Action No. 1:23-cv-00265-
                                  ) LEK-WRP
  v.                              )
                                  )
  ANNE E. LOPEZ, IN HER OFFICIAL  )
  CAPACITY AS THE ATTORNEY        )
  GENERAL OF THE STATE OF HAWAII, )
                                  )
                                  )
  Defendant                       )




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              Declaration of Clayton Cramer in Rebuttal of Saul Cornell

         COMES NOW, Clayton Cramer, and states as follows:


     1. I am a natural person, an adult, United States of America citizen. If called as

         a witness in this matter, I would provide the following testimony and I make

         this declaration based on personal knowledge, except where otherwise

         stated;

     2. This Declaration is being submitted to rebut the declaration submitted by

         Saul Cornell in Wolford Et. Al. v. Lopez No. 1:23-cv-00265-LEK-WRP




    I.   Introduction

         3.    This Rebuttal Declaration to Prof. Cornell demonstrates multiple

  errors that demonstrate a limited knowledge of the colonial period.


   II.   Qualifications

         4.    My M.A. in History is from Sonoma State University in California. I

  teach history at the College of Western Idaho. I have nine published books, mostly

  scholarly histories of weapons regulation. My 18 published articles (mostly in law

  reviews) have been cited in D.C. v. Heller (2008), McDonald v. Chicago (2010),

  Jones v. Bonta (9th Cir. 2022), Young v. State (9th Cir. 2021), State v. Sieyes

  (Wash. 2010), Senna v. Florimont (N.H. 2008), Mosby v. Devine (R.I. 2004). A


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  comprehensive list of my scholarly works and citations can be found at

  https://claytoncramer.com/scholarly/journals.htm.

         5.    In several cases, my work has been cited in defense of laws limiting

  firearms ownership: State v. Roundtree (Wisc. 2021), State v. Christen (Wisc.

  2021), King v. Sessions (E.D.Penn. 2018).

         6.    I am being compensated for services performed in the above-entitled

  case at an hourly rate of $150 for expert declarations. My compensation is not

  contingent on the results of my analysis or the substance of any testimony.


  III.   Carrying Over English Common Law

         7. At pp. 5-6, Cornell asserts “Each of the new states, either by statute or

  judicial decision, adopted multiple aspects of the common law, focusing primarily

  on those features of English law that had been in effect in the English colonies for

  generations.”      His   footnote   lists   “9   STATUTES      AT    LARGE      OF

  PENNSYLVANIA 29-30 (Mitchell & Flanders eds. 1903); FRANCOIS XAVIER

  MARTIN, A COLLECTION OF STATUTES OF THE PARLIAMENT OF

  ENGLAND IN FORCE IN THE STATE OF NORTH-CAROLINA 60–61

  (Newbern, 1792); Commonwealth v. Leach, 1 Mass. 59 (1804).”

         8. “9 STATUTES AT LARGE OF PENNSYLVANIA 29-30” carried over

  English law but with the important provision:




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         all and every person and persons whosoever are hereby enjoined
         and required to yield obedience to the said laws as the case may
         require until the said laws or acts of general assembly respectively,
         shall be repealed or altered or until they expire by their own
         limitation and the common law and such of the statute laws of
         England as have heretofore been in force in the said province,
         except as is hereafter excepted.1 [emphasis added]
        9. Certainly, the Pennsylvania Constitution of 1790, with its guarantee of a

  right to keep and bear arms,2 qualifies as alteration of English common law

  concerning arms.

        10. “FRANCOIS XAVIER MARTIN, A COLLECTION OF STATUTES

  OF THE PARLIAMENT OF ENGLAND IN FORCE IN THE STATE OF

  NORTH-CAROLINA 60–61 (Newbern, 1792).” The legislature tasked Martin to

  sift through all existing British statutes that might have some applicability to North

  Carolina. “I began at Magna Charta. The old statutes, before that period are

  generally acknowledged to be rather a matter of mere curiosity, and scarcely an

  authentic record of any of them is extant.... I have inserted every statute unrepealed

  by subsequent acts, or which did not appear so glaringly repugnant to our system

  of government as to warrant its suppression.”3 North Carolina’s 1776 Constitution




  1
    9 STATUTES AT LARGE OF PENNSYLVANIA 30 (1903).
  2
    Penn. Const., Art. IX, § 21 (1790).
  3
    Martin, A COLLECTION OF STATUTES OF THE PARLIAMENT OF ENGLAND IN FORCE
  IN THE STATE OF NORTH CAROLINA iii (1792).



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   guarantees “That the people have a right to bear arms, in defense of the State”4

   Again, this guarantee concerning the right to bear arms overrode English common

   law. Furthermore pp. 60-61 in Martin’s collection is the Statute of Northampton

   disqualified for relevance by Bruen.5

         11. When the North Carolina Supreme Court heard State v. Newsom (1844),

   one of the claims made by the black defendant was that the 17th article the Bill of

   Rights of North Carolina protected his right to carry a shotgun.        The North

   Carolina Supreme Court in deciding in this case, did not question whether the right

   to keep and bear arms was individual in nature. Instead, they ruled that the

   defendant’s color was the deciding principle, taking precedence over the text.

   Referring to the authors of the North Carolina Constitution: “They must have felt

   the absolute necessity of the existence of a power somewhere, to adopt such rules

   and regulations, as the safety of the community might, from time to time, require.”6

         12. “Commonwealth v. Leach, 1 Mass. 59 (1804)”: The decision did nothing

   to make English common law applicable in Massachusetts:

          Hooker, for the prosecution, conceded that justices of the peace
          were officers created by statute, and that their jurisdiction and



   4
     North Carolina Const. Art. XVII (1776).
   5
     New York State Rifle & Pistol Assn, Inc. v. Bruen, 142 S. Ct. 2111, 2139, 2140
   (2022).
   6
     State v. Newsom, 27 N.C. (5 Ired.) 250, 255 (1844).


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               powers were wholly dependent upon the statutes; 2 Hawk. P. C. c.
               8, 13 , &c. …
               In this act, the term common law cannot mean the common law of
               England, because justices of the peace there are not common law
               officers; it must, therefore, mean our common law; and on this
               subject, our common law must be precisely what the statute law of
               England was at the time of the emigration of our ancestors from
               that country. The statutes which were previous to that time enacted
               in England, and which define or describe the authorities, powers,
               and jurisdiction of justices of the peace, give to them, expressly,
               cognizance of divers offences which were offences at common law;
               among which are trespasses.7 [emphasis in original]
             13. Clearly, only some parts of English law were common with

   Massachusetts law. Where Massachusetts law had differed, English law was no

   longer valid.

             14. A later digest of Massachusetts decisions includes “Commonwealth v.

   Leach, 1 Mass. 59 (1804)” in its list of “English Statutes Adopted Here.” 8 Only

   individual statutes, not necessarily all of common law applied in Massachusetts, or

   there would be no need to have a detailed list.

             15. Cornell has attributed this carryover of English law as it was in 1776 to

   “[e]ach of the new states” from sources in three states, none of which fits his claim.

   Cornell does not understand his sources.




   7
       Commonwealth v. Leach, 1 Mass. 59 (1804).
   8
       2 Massachusetts Digest: Being a Digest of the Decisions of the Supreme Judicial Court Of Massachusetts, From
   The Year 1804 to the Year 1857. 661 (1863).



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         16. The U.S. Supreme Court has also emphasized how little significance

   English common law has compared to a constitution: “Legislation is the exercise

   of sovereign authority. High and important powers are necessarily vested in the

   Legislative body; whose acts, under some forms of government, are irresistible and

   subject to no controul. In England, from whence most of our legal principles and

   legislative notions are derived, the authority of the Parliament is transcendant and

   has no bounds.”9


  IV.    Conserving the Peace

         17. Prof. Cornell on p. 6 quotes Blackstone’s COMMENTARIES about how the

   common law “hath ever had a special care and regard for the conservation of the

   peace; for peace is the very end and foundation of civil society.” True enough, but

   Blackstone’s quote is from a discussion of:

          [S]ubordinate magistrates, whom I am to consider justices of the
          peace… Of these, some had, and still have, this power annexed to
          other offices which they hold; others had it merely by itself, and
          were thence named custodes or conservatores pacis. Those that
          were so virtute officii still continue: but the latter sort are
          superseded by the modern justices.10

         18. While perhaps an accurate statement of Blackstone’s view of the

   common law, it seems a good case can be made that it is a retrospective

   9
     Vanhorne's Lessee v. Dorrance, 2 U.S. (2 Dall.) 304, 308, 28 F. Cas. 1012 (C.C.D.
   Pa. 1795).
   10
      William Blackstone, 1 COMMENTARIES ON THE LAWS OF ENGLAND 143 (1775).


                                                 6
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   description, and irrelevant to English law in Blackstone’s time and therefore

   irrelevant to American law.

            19. When Blackstone listed the absolute rights that every Englishman

   enjoyed, peace was not on the list, but “5. THE fifth and last auxiliary right of the

   subject, that I shall at present mention, is that of having arms for their defence…”11

   Blackstone does not identify peace as one of these “Rights of Persons” in Book I,

   ch. 1:

              The rights themselves, thus defined by these several statutes,
              consist in a number of private immunities; which will appear, from
              what has been premised, to be indeed no other, than either that
              residuum of natural liberty, which is not required by the laws of
              society to be sacrificed to public convenience; or else those civil
              privileges, which society hath engaged to provide, in lieu of the
              natural liberties so given up by individuals.12

            20. If Blackstone is of great importance for determining what was important

   in English and therefore American law, this core right of self-defense deserves at

   least as much weight as Cornell’s apparently out of context of quote from

   Blackstone.

            21. At p. 13:

              The most basic right of all at the time of Founding was the right of
              the people to regulate their own internal police. Although modern
              lawyers and jurists are accustomed to thinking of state police


   11
        Id., at 143.
   12
        Id., at 121.


                                                  7
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          power, the Founding generation viewed this concept as a right, not
          a power. The first state constitutions clearly articulated such a right
          — including it alongside more familiar rights such as the right to
          bear arms. Pennsylvania’s Constitution framed this estimable right
          succinctly: “That the people of this State have the sole, exclusive
          and inherent right of governing and regulating the internal police of
          the same.”
         22. The Pennsylvania Constitution included a guarantee of a right to keep

   and bear arms,13 a guarantee “[N]o part of a man’s property can be justly taken

   from him, or applied to public uses, without his own consent, or that of his legal

   representatives”14 and a guarantee of “a right to freedom of speech, and of writing,

   and publishing their sentiments.”15 These seem to be pretty large exceptions to

   Cornell’s imagined right “to legislate for the common good.” Perhaps Cornell’s

   understanding of state police power is wrong or at least more limited than he

   imagines?

         23. Pennsylvania Supreme Court decisions portray the state’s police power

   somewhat more narrowly than Cornell: “Its exercise may be limited by the frame

   or constitution of a particular government, but its natural limitations, in the

   absence of a written constitution, are found in the situation and necessities of the




   13
      Penn. Const. Art. 11 (1776).
   14
      Penn. Const. Art. 8 (1776).
   15
      Penn. Const. Art. 12 (1776).


                                                8
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   state, and these must be judged of in the first instance by the government itself.”16

   [emphasis added]

         24. What the people, and ideally the legislature as well, consider what was

   needed ”for the common good has been restrained by both state constitution bills

   of rights and the U.S. Bill of Rights from the very beginning.          Rep. James

   Madison, author of the Bill of Rights, is also remembered for his MEMORIAL AND

   REMONSTRANCE, ON THE RELIGIOUS RIGHTS OF MAN arguing that Virginia should

   disestablish the Anglican Church:

          Either then, we must say that the will of the Legislature is the only
          measure of their authority, and that, in the plenitude of this
          authority, they may sweep away all our fundamental rights; or, that
          they are bound to leave this particular right untouched and sacred:
          either we must say that they may control the freedom of the press,
          may abolish the trial by jury, may swallow up the Executive and
          Judiciary powers of the State; nay, that they may despoil us of our
          right of suffrage, and erect themselves into an independent and
          hereditary assembly: or, we must say, that they have no authority to
          enact into law the bill under consideration.17

         25. If Cornell really believes in this right of the states to legislate on all

   matters related to the police power, ‘such as unlicensed public houses, nuisances,

   and many other things of the like nature,’” I look forward to his defense of state



   16
     Commonwealth v. Vrooman, 164 Pa. 306, 316 (Penn. 1894).
   17
     James Madison, A MEMORIAL AND REMONSTRANCE, ON THE RELIGIOUS RIGHTS
   OF MAN; WRITTEN IN 1784-5, AT THE REQUEST OF THE RELIGIOUS SOCIETY OF
   BAPTISTS IN VIRGINIA 41 (1828).


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   laws mandating racially segregated public schools and public accommodations,

   censorship of dirty books, prohibitions on sodomy, one man/one woman marriage

   laws, and bans on transgender sports. It is hard to consider a person a legal scholar

   or historian who does not understand that the American experiment in democracy

   has always been restrained by a recognition that majorities can and do make

   mistakes. This is the reason that every state constitution today, many of the

   Revolutionary state constitutions, and the U.S. Constitution has a Bill of Rights.

            26. At pp. 19, Cornell quotes the Second Amendment and asserts, “Thus,

   from its outset, the Second Amendment recognizes both the right to keep and bear

   arms and the right of the people to regulate arms to promote the goals of preserving

   a free state.” The first clause of the Second Amendment references not well-

   regulated arms but a “well-regulated militia.”

            27. Heller pointed out that, “The Second Amendment is naturally divided

   into two parts: its prefatory clause and its operative clause. The former does not

   limit the latter grammatically, but rather announces a purpose.”18 Either Cornell is

   misreading the Second Amendment’s text or he is unfamiliar with the Heller

   decision. In either case, he has demonstrated his lack of expertise in this subject.

            28. At p. 19:



   18
        D.C. v. Heller, 554 U.S. 570, 577 (2008).


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            In standard American English in the Founding era, to “abridge”
            meant to “reduce.” Thus, the First Amendment prohibits the
            diminishment of the rights it protects. The Second Amendment’s
            language employs a very different term, requiring that the right to
            bear arms not be “infringed.” In Founding era American English,
            the word “infringement” meant to “violate” or “destroy.”

           29. In support of this claim, Cornell at p. 20 cites Burns’ New Law

   Dictionary definition of “liberty,” but it does not match any American concept of

   that term. If anything, it is a profoundly anti-American concept: privilege granted

   to a select few:

            LIBERTY, is a privilege held by grant or prescription, by which
            men enjoy some benefit beyond the ordinary subject.19
           30. Cornell makes a strong claim but it is a distinction without a difference.

   In what way is limiting free speech just a bit (e.g., prohibiting criticism of the U.S.

   Government) different from limiting the right to bear arms just a bit (e.g.,

   prohibiting open carry). Of course just a bit has a non-boolean aspect to it. Would

   prohibiting possession of all rifles destroy the right? What about prohibiting

   possession of handguns? What about knives? At what point does regulation not

   destroy the right?

           31. At p. 8, quoting a “patriotic revolutionary era orator,” “True liberty

   consists, not in having no government, not in a destitution of all law, but in our

   having an equal voice in the formation and execution of the laws, according as they

   19
        Richard Burn and John Burn, A NEW LAW DICTIONARY 79 (1792).


                                                11
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   effect [sic] our persons and property.” The relevance of this quote to this case

   seems confused. The plaintiffs are not arguing for no government or a “destitution

   of all law,” but a disagreement about this law. Cornell’s reasoning could be

   equally applied to laws prohibiting free speech, or opponents of warrantless

   searches; First Amendment or Fourth Amendment opponents of unlimited power

   to the government are not arguing for anarchy.

         32. At p. 12, Cornell quotes Jud Campbell that “Rather, retained natural

   rights were aspects of natural liberty that could be restricted only with just cause

   and only with consent of the body politic.” What Cornell and perhaps Campbell

   seem to have missed is that the Bill of Rights limits democracy because a majority

   can, and often does, abuse its power. The recent consequences of panic after 9/11

   should be a reminder that even well-intentioned polity’s can blow it.

         33. Cornell continues: “In fact, without robust regulation of arms, it would

   have been impossible to implement the Second Amendment and its state

   analogues. Mustering the militia required keeping track of who had weapons and

   included the authority to inspect those weapons and fine individuals who failed to

   store them safely and keep them in good working order.” Cornell’s source for this

   claim? “H. RICHARD UVILLER & WILLIAM G. MERKEL, THE MILITIA

   AND THE RIGHT TO ARMS, OR, HOW THE SECOND AMENDMENT FELL

   SILENT 150 (2002).” P. 150 makes no such claim. It is a discussion of the



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   meaning of the Second Amendment that directly contradicts Cornell’s claims.

   Review of militia censuses cited in UVILLER & MERKEL,20 shows that militia

   censuses show the number of militiamen by state, broken down by rank.21 There is

   no record of who was a member or what arms each person possessed. Cornell is

   just making this stuff up. Mustering the militia required no such recordkeeping.

   Colonial and state militia laws did not keep track of who was armed. They

   imposed a duty to be armed and to show up with those arms on muster day or face

   fines.22 I am unaware of any safe storage laws of this period, and Cornell cites

   only a secondary source for a rather important claim. I have a pretty complete




   20
      H. Richard Uviller & William G. Merkel, THE MILITIA AND THE RIGHT TO
   ARMS, OR, HOW THE SECOND AMENDMENT FELL SILENT 150 (2002)
   21
      1 American State Papers. Class V. Military Affairs. 159-62 (1832).
   22
       A few examples: 1 THE PUBLIC RECORDS OF THE COLONY OF CONNECTICUT,
   1636-1776 15 (1850) (“It, it is ordered that all persons shall beare Armes that are
   above the age of sixteene yeeres except they doe tender a sufficient excuse [to] the
   Corte & the Cort allowe the same.”); Charles J. Hoadly, ed., RECORDS OF THE
   COLONY AND PLANTATION OF NEW HAVEN, FROM 1638 TO 1649 25-26 (1857) (“It
   is ordered that every one that beares armes shall be compleatly furnished with
   armes (viz), a muskett, a sworde, bandaleers, a rest, a pound of powder, 20 bullets
   fitted to their muskett, or 4 pound of pistoll shott or swan shott att least, and be
   ready to show them in the markett place upon Munday the 16th of this Month
   before Captaine Turner and Leiutennant Seely under the penalty 20 s fine for every
   default or absen[ce].”)


                                               13
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   collection of colonial and Revolutionary militia laws23 and there are no such

   provisions that I can find.

         34. At p. 13: “The individual states also imposed loyalty oaths, disarming

   those who refused to take such oaths. No state imposed a similar oath as pre-

   requisite to the exercise of First Amendment-type liberties.”

         35. In 1777, Pennsylvania responded to concerns that Loyalists might be a

   fifth column by passing a law that provided that those of militia age refusing to

   swear an oath of loyalty to the Revolutionary governments were prohibited from

   “holding any office or place of trust in this state, serving on juries, suing for any

   debts, electing or being elected, buying, selling or transferring any lands,

   tenements or hereditaments, and shall be disarmed by the lieutenant or sub-

   lieutenant of the city or counties respectively.”

         36. Massachusetts’ similar Test Act:

           That every male person above sixteen years of age, resident in any
           town or place in this colony, who shall neglect or refuse to
           subscribe a printed or written declaration, of the form and tenor
           hereinafter prescribed, upon being required thereto by the
           committee of correspondence, inspection and safety, shall be
           disarmed, and have taken from him, in manner hereafter directed,
           all such arms, ammunition and warlike implements, as, by the



   23
               Clayton         E.         Cramer,          Militia        Statutes,
   https://claytoncramer.com/primary/primary.html#MilitiaLaws, last accessed July
   15, 2023/


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          strictest search, can be found in his possession or belonging to
          him…24
         37. Like its cousins in other states, refusing the oath disqualified one for any

   public office, work as a minister, voting, or teaching.25 Cornell could easily use

   these wartime emergency acts as justification today for restrictions on transferring

   property, voting, teaching, or preaching the gospel.

         38. Abuses of civil liberties were widespread during the chaos of the

   Revolution. Thomas Jefferson drafted a bill of attainder passed by the Virginia

   Legislature in 1778.26 In Cornell’s model, the U.S. Constitution’s prohibition on

   Bills of Attainder27 can be safely ignored.

         39. On p. 17:

          The first notable expansion of regulation occurred during the period
          after the War of 1812, when cheap, reliable, and easily concealable
          pistols were produced for the first time in American history. More
          than 90% of the firearms in circulation in the Founding era were
          long guns, so pistols were not a serious problem for the Founders.
         40. How common were pistols before the Revolution? The evidence from

   archaeological digs, probate inventories, advertising, and from surviving pistols

   demonstrates that Americans made handguns before the Revolution; that there was

   24
      5 Acts and Resolve, Public and Private, of the Province of the Massachusetts
   Bay 479 (1886), ch. 21.
   25
      Ibid., 481.
   26
      William M. Burwell, Address Delivered Before the Society of Alumni of the
   University of Virginia 446-47 (1847).
   27
      U.S. Const., Art. I, § 9, cl. 3.


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   a civilian market for them in at least some cities; and that pistol ownership was

   unremarkable. An analysis of all Plymouth Colony probate inventories found that

   of 339 listed firearms, forty-four, or thirteen percent, were pistols, and 54.5 percent

   of lead projectiles recovered from Plymouth Colony digs were pistol bullets.28

         41. On August 22, 1775, the New-York Provincial Congress ordered the

   militia to arm themselves; Calvarymen were obligated to provide themselves with

   “a case of pistols, and a carabine.” Every man 16 to 50 was to “furnish himself”

   with either a long gun or “a case of pistols.”    29
                                                          (How many pistols were in one

   case? At least one.)

         42. While Americans made pistols early in the eighteenth century, most

   colonists preferred to buy pistols imported from Britain, perhaps because of price

   or prestige.   Only a few pre-Revolutionary War American-made pistols have

   survived.30 Surviving pistols made for William Smith of Farmington, Connecticut



   28
      Plymouth Archaeological Rediscovery Project, “Firearms in Plymouth Colony”
   (2002), Tables 1 and 4, available at https://www.plymoutharch.com/wp-
   content/uploads/2014/11/62869457-Firearms-in-Plymouth.pdf,        last accessed
   March 1, 2023.
   29
      Peter Force, ed., 3 American Archives, 4th ser., 665-6 (1840).
   30
      Harold L. Peterson, ARMS AND ARMOR IN COLONIAL AMERICA: 1526-1783 213-
   14, 202, 205, 209 (1956); M.L. Brown, FIREARMS IN COLONIAL AMERICA: THE
   IMPACT ON HISTORY AND TECHNOLOGY 1492-1792 312 (1980); Frank Klay, THE
   SAMUEL E. DYKE COLLECTION OF KENTUCKY PISTOLS 4-15 (1972); Felicia Johnson
   Deyrup, ARMS MAKERS OF THE CONNECTICUT VALLEY: A REGIONAL STUDY OF THE
   ECONOMIC DEVELOPMENT OF THE SMALL ARMS INDUSTRY, 1798-1870 34 (1948).


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   by Medad Hills in 1771 were equipped with American-made barrels, and

   apparently English locks.31

          43. Advertising and news reports show that merchants offered pistols for

   sale in Colonial America. Such ads appear in the Boston Gazette as early as 1720.

   Sampling ads from the 1741-1742 period reveals at least two different merchants

   offering pistols for sale.32

          44. A gang of robbers, having terrorized New York City, moved on to

   Philadelphia in 1749. A newspaper account of their crimes reported that, “two

   Men, unknown, were lately at Mr. Rush's, a Gun smith, enquiring for six Pair of

   Pocket Pistols, to make up twelve Pair, having as they said, got the six Pair at some

   other Place.”33      In 1772 and 1773, Heinrich Diebenberger advertised in

   Pennsylvania newspapers that he sold pistols,34 as did Henry Deabarear, who sold

   “pistols for holsters and the pocket….” Philadelphia merchants advertised pistols




   31
      George A. Stickels, The William Smith Pistols Made by Medad Hills, THE GUN
   REPORT 10-12 (September, 1979).
   32
      BOSTON GAZETTE issues with one or more ads offering pistols: May 30, 1720,
   November 17, 1741, December 8, 1741, February 2, 1742, May 11, 1742¸ May 18,
   1742, May 25, 1742, July 13, 1742, August 10, 1742, August 24, 1742, August 31,
   1742, [September 13?], 1742.
   33
      PENNSYLVANIA GAZETTE, August 31, 1749.
   34
        September 4, 1772 and September 14, 1773, WOCHTENLICHTER
   PENNSYLVANISCHE STAATSBOTE, translated and quoted in James Whisker, THE
   GUNSMITH’S TRADE 159-160 (Lewiston, N.Y.: Edwin Mellen Press, 1992).


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   for sale repeatedly from 1744 onward.35         A 1745 ad in the PENNSYLVANIA

   GAZETTE, offered “ship muskets, pistols , cutlashes and poleaxes, gunpowder, lead,

   shot and bullets, English and French gun flints.”36 [emphasis added]

         45. Pistols appear in journals and newspaper articles throughout the colonial

   period—and while the crimes committed with them are sometimes shocking, the

   presence of pistols is never remarkable. Governor John Winthrop made several

   references to pistols in New England in the nineteen years that his journal covers.

   One was a 1641 theological dispute at Pascataquack (now Dover, New Hampshire)

   that led the factions to arm themselves and march; at least one member Winthrop

   identified as armed with a pistol. There were murders with pistols at Stamford,

   Connecticut and at Penobscott in 1644, and an attempted murder with a pistol at

   Cape Sable in 1646.37 Pistols appear in other places in Winthrop’s Journal.38

   Winthrop never expressed any surprise over the presence of pistols.




   35
      Pennsylvania Gazette, November 1, 1744; September 26, 1745; October 3, 1745;
   October 17, 1745; February 11, 1746; July 17, 1746; July 30, 1747; May 12, 1748;
   September 15, 1748; October 25, 1750; November 27, 1755; August 2, 1759;
   February 11, 1762; April 14, 1763; May 19, 1763; April 12, 1764; April 19, 1764;
   August 16, 1770; May 28, 1772; February 17, 1773; September 15, 1773.
   36
      Just imported by Hamilton, Wallace and Company, in the Ship, PENNSYLVANIA
   GAZETTE, Sep. 26, 1745, Oct. 3, 1745.
   37
      John Winthrop, 2 WINTHROP’S JOURNAL: “HISTORY OF NEW ENGLAND”, 27, 153,
   180, 275 (1908).
   38
      Id., at 95, 151,


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         46. An accident in New York City in 1745: “a young Gentleman having

   been on board the Clinton Privateer, then going out, had a Pair of Pistols given

   him; which on his coming on Shore he carried into a Publick House, among some

   of his Acquaintance, where one of them was found to be loaded; upon which

   several Attempts were made to discharge it; but it missing Fire, he sat down in

   order to amend the Flint; in doing of which, the Pistol unhappily went off, and shot

   Mr. Thomas Cox, Butcher, through the Head…”39 [emphasis in original]

         47. Many eighteenth century accounts also mention pistols. Eliza Lucas

   Pinckney described the suicide of Anne LeBrasseur with a pistol as “melancholy

   and shocking,” but newspaper accounts suggest that what was shocking was not

   the weapon, but that she was “a Disciple of Mr. Whitefield’s” (the noted

   evangelist).40 In 1749, the PENNSYLVANIA GAZETTE reported that, “Sunday night

   last, about eight a Clock, Richard Green, coming to Town from Kensington, was

   stopt on the Road, and his Money demanded, by two Men with Pistols….” 41 There

   are other examples available in the PENNSYLVANIA GAZETTE of the criminal misuse




   39
       NEW YORK, October 28. Monday Evening last a very melancholy,
   PENNSYLVANIA GAZETTE, OCT. 31, 1745.
   40
      Eliza Lucas Pinckney, Elise Pinckney, ed., THE LETTERBOOK OF ELIZA LUCAS
   PINCKNEY 42, 42 n. 55 (1997).
   41
      By the last Post from New York…, PENNSYLVANIA GAZETTE, Aug. 31, 1749.


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   of and accidental deaths from pistols; they are never described as surprising.42

   Pistols appear among the South Carolina Regulators and the criminals to whom

   they administered frontier justice.43    Nor was there any surprise when pistols

   appear in the hands of the law-abiding, such as a description of Rev. Whitfield

   preaching in Massachusetts, “he was attended by many Friends with Muskets and

   Pistols on Account of the Indians….”44

         48. Pistols appear in news reports: This came from New York in 1775,

   describing events before March 23 (so before the Revolutionary War started):

          The sheriff came to the courthouse, and demanded entrance, which
          was refused him; and whilst struggling to enter the door, he
          received a blow upon his head, which leveled him with the ground:
          Having recovered a little, he arose and discharged a pistol among
          the opposers, and commanded the Court party to fire also; when, as
          Mr. Langdon supposes, about five of them fired. Mr. French, one of
          the opposers, was killed by a ball's being lodged in his head, and
          two more of the same party were also wounded. The sheriff and the
          Court party then entered the courthouse. The populace without
          discharged a gun and two pistols .45 [emphasis added]




   42
      Monday Evening last a very melancholy…, PENNSYLVANIA GAZETTE, Oct. 31,
   1745; Last Friday one Hunt, a lime seller in this…, PENNSYLVANIA GAZETTE, Apr.
   20, 1749.
   43
      Richard Maxwell Brown, THE SOUTH CAROLINA REGULATORS 35, 40, 54 (1963).
   44
      Last Monday Capt. Tyng in the Massachusetts…, PENNSYLVANIA GAZETTE, Aug.
   15, 1745.
   45
      MR. Mark Langdon, from Westminster, in the…, VIRGINIA GAZETTE, Apr. 22,
   1775.


                                               20
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           49. Other news accounts report pistols being used.46

           50. A London gun-maker complained in the SOUTH CAROLINA GAZETTE that

   “a Person in the Country in putting my Name and London on some parcels of Guns

   and Pistols” apparently not proofed (as English law required) thus creating a risk to

   his reputation.47 A 1766 ad in the SUPPLEMENT TO THE SOUTH CAROLINA GAZETTE;

   AND COUNTRY JOURNAL offered “brass barrel pistols.”48

           51. Enough pistols were present in private hands in Pennsylvania in 1774 for

   the legislature to include handguns in a law regulating New Year’s Day festivities.

   This statute made it illegal for “any person or persons shall, on any thirty-first day

   of December, or first or second day of January, in every year, wantonly, and

   without reasonable occasion, discharge and fire off any handgun, pistol, or other

   firearms, or shall cast, throw or fire any squibs, rockets or other fireworks, within

   the inhabited parts of this province….”49 [emphasis added]




   46
        BY THE LAST POST FROM NEW YORK…, PENNSYLVANIA GAZETTE, Aug. 31, 1749.
   47
        To the Publick, SOUTH CAROLINA GAZETTE, DEC. 26, 1743.
   48 GUERIN & WILLIAMSON,Have just imported in the London, Supplement to the South Carolina Gazette; and
   Country Journal, Jun. 24, 1766, Jul. 1, 1766, Jul. 8, 1766
   49
      An ACT to suppress the disorderly practice of FIRING GUNS, &c.,
   PENNSYLVANIA GAZETTE, Dec. 28, 1774.


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                             PAUL REVERE’S VERY COMPACT POCKET PISTOL 50

         52. My search through newspapers from the 1730s through 1760s at

   Accessible Archives for “pistol” showed 2,962 matches.51 Some of these are

   militia use references, some are references to a coin of that time, and some to a

   type of cloth called pistol. A few are references to foreign news events; some news

   accounts appear in multiple newspapers. Still, it is pretty apparent that Cornell's

   claim about the scarcity of pistols is utterly wrong and shows a limited knowledge

   of the period for which he has “expert” opinions.

         B. Black Powder

         53. At pp. 16-17:


   50
     Photograph by Clayton E. Cramer at the Massachusetts Historical Society.
   51
     Accessible Archives is a proprietary data base. I searched for “pistol” in all
   newspapers for the 1730s through 1760s.


                                              22
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           The nature of firearms technology and early American society
           militated against guns as the preferred tool for most forms of
           interpersonal violence.


           Weapons in the Founding era were muzzle loaded guns that were
           not particularly accurate and took a long time to load. . The black
           powder used in these firearms was corrosive and attracted moisture
           like a sponge: two facts that militated against storing weapons
           loaded. Given the state of firearms technology in the Founding era,
           it is not surprising that recent scholarship has demonstrated that
           there was not a widespread gun violence problem in the era of the
           Second Amendment.
         54. This is a perfectly logical statement, but the documents left by colonial

   Americans show that they did not follow it very consistently. Colonial Americans

   kept black powder firearms loaded with tragic results. Massachusetts Governor

   Winthrop’s journal reports several accidental deaths or injuries caused by colonists

   failing to follow this very logical action:

           At a training at Watertown, a man of John Oldham's, having a
           musket, which had been long charged with pistol bullets, not
           knowing of it, gave fire, and shot three men, two into their bodies,
           and one into his hands; but it was so far off, as the shot entered the
           skin and stayed there, and they all recovered.52
         55. And:

           Three men coming in a shallop from Braintree, the wind taking
           them short at Castle Island, one of them stepping forward to hand
           the sail, caused a fowling piece with a French lock, which lay in the
           boat, to go off. The whole charge went through the thigh of one


   52
     John Winthrop, James Kendall Hosmer, ed., 1 Winthrop’s Journal: “History of
   New England” 1630-1649 (1908), 83.


                                                 23
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             man within one inch of his belly, yet missed the bone, then the shot
             (being goose shot) scattered a little and struck the second man
             under his right side upon his breast, so as above 40 shot entered his
             body, many into the capacity of his breast.53

            56. These incidents of firearms kept loaded when not in active use resulting

   in serious misadventure are in one book. How many of these loaded firearms sat

   quietly in their place, never accidentally discharging? How many incidents are in

   books that I have not read?          Perhaps if Cornell was well-read in colonial

   documents, he would know enough about colonial practices to be an expert. The

   relevance of this claim to the proposed law is unclear.

            57. Finally, there is one more piece of evidence that Americans kept

   firearms loaded when not ready for use. In 1783, Massachusetts passed a statute

   that shows firearms were kept loaded regularly enough to justify a law regulating

   the practice.

            58. The preamble “WHEREAS the depositing of loaded arms in the houses

   of the town of Boston, is dangerous to the lives of those who are disposed to exert

   themselves when a fire happens to break out in the said town” establishes that it

   was a fire safety measure.

             Sect. 2. And be it further enacted by the authority aforesaid, That
             all canon, swivels, mortars, howitzers, cohorns, fire-arms, grenades,
             and iron shells of any kind, that shall be found in any dwelling-


   53
        Id. 2:55.


                                                 24
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          house, out-house, stable, barn, store, ware-house, shop, or other
          building, charged with, or having any dwelling in them any gun-
          powder, shall be liable to be seized by either of the Firewards of the
          said town…

         59. You were free to keep small arms, cannon, small artillery, bombs, and

   grenades at home, as long as they were unloaded. Why was there a need for such a

   law unless firearms (and artillery) were at least occasionally left loaded? Would

   we pass a law today ordering that you not leave children unsupervised at a pool if

   no one did this?

         Accuracy

         60. Cornell’s claim on p. 16: “Weapons in the Founding era were muzzle

   loaded guns that were not particularly accurate…” is false. A letter that James

   Madison wrote on June 19, 1775 to William Bradford in Philadelphia:

          The strength of this Colony will lie chiefly in the rifle-men of the
          Upland Counties, of whom we shall have great numbers. You
          would be astonished at the perfection this art is brought to. The
          most inexpert hands rec[k]on it an indifferent shot to miss the
          bigness of a man's face at the distance of 100 Yards. I am far from
          being among the best & should not often miss it on a fair trial at
          that distance. If we come into an engagement, I make no doubt but
          the officers of the enemy will fall at the distance before they get
          [within] 150 or 200 Yards. Indeed I believe we have men that
          would very often hit such a mark 250 Yds. Our greatest
          apprehensions proceed from the scarcity of powder but a little will
          go a great way with such as use rifles.54 [emphasis added]


   54
     James Madison, William T. Hutchinson and William M.E. Rachal, ed., 1 The
   Papers of James Madison 153 (1962).


                                               25
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         61. Frederick County, Maryland raised two companies of riflemen to join the

   army forming outside of Boston. An eyewitness account of Captain Michael

   Cresap’s rifle company of “upwards of 130 men” described a demonstration:

          to show the gentlemen of the town their dexterity at shooting. A
          clapboard, with a mark the size of a dollar, was put up; they began
          to fire off-hand, and the bystanders were surprised, so few shots
          being made that were not close to or in the paper.

          When they had shot for a time in this way, some lay on their backs,
          some of their breast or side, others ran twenty or thirty steps, and,
          firing, appeared to be equally certain of the mark. With this
          performance the company was more than satisfied, when a young
          man took up the board in his hand, not by the end, but by the side,
          and holding it up, his brother walked to the distance, and very
          coolly shot into the white; laying down his rifle, he took up the
          board, and, holding it as was held before, the second brother shot as
          the former had done.

          By this exercise I was more astonished than pleased. But will you
          believe me, when I tell you, that one of the men took the board, and
          placing it between his legs, stood with his back to the tree, while
          another drove the center?55

         62. Other accounts of Cresap’s company also report on their marksmanship:

          [W]e mention a fact which can be fully attested by several of the
          reputable persons who were eye-witnesses of it. Two brothers in the
          company took a piece of board five inches broad and seven inches
          long, with a bit of white paper, about the size of a dollar, nailed in
          the centre; and while one of them supported this board
          perpendicularly between his knees, the other, at the distance of
          upwards of sixty yards, and without any kind of rest, shot eight
          bullets through it successively, and spared a brother's thigh!



   55 John Thomas Scharf, 1 HISTORY OF WESTERN MARYLAND 130 (1882).


                                               26
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          Another of the company held a barrel stave perpendicularly in his
          hands with one edge close to his side, while one of his comrades, at
          the same distance, and in the manner before mentioned, shot
          several bullets through it, without any apprehension of danger on
          either side.
          The spectators appearing to be amazed at these feats, were told that
          there were upwards of fifty persons in the same company who
          could do the same thing; that there was not one who could not plug
          nineteen bullets out of twenty, as they termed it, within an inch of
          the head of a tenpenny nail. In short, to prove the confidence they
          possessed in their dexterity at these kind of arms, some of them
          proposed to stand with apples on their heads, while others at the
          same distance, undertook to shoot them off; but the people who saw
          the other experiments declined to be witnesses of this.56
         63. Cornell should spend a bit more time reading what colonial Americans

   wrote and less of what people write with whom he already agrees.


   V.    Firearms Regulation in Antebellum America

         64. Starting at page 23, Cornell seems to have stopped citing any sources,

   except himself, presumably because has only his own arm-waving as a source.

          Secondly, the constitutional “mischief to be remedied” that arms
          bearing provisions addressed had changed as well. Constitution
          writers in the era of the American Revolution feared powerful
          standing armies and sought to entrench civilian control of the
          military. By contrast, constitution writers in the era of the
          Fourteenth Amendment were no longer haunted by the specter of
          tyrannical Stuart Kings using their standing army to oppress
          American colonists. In place of these ancient fears, a new
          apprehension stalked Americans: the proliferation of unusually


   56 “From The Virginia Gazette (1775)” in Albert Bushnell Hart and Mabel Hill,
   CAMPS AND FIRESIDES OF THE REVOLUTION 230 (1918).


                                              27
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          dangerous weapons and the societal harms they caused. The
          Reconstruction-era constitutional solution cast aside the eighteenth-
          century language that was steeped in fears of standing armies and
          substituted in its place new language affirming the state’s police
          power authority to regulate arms, particularly in public.
         65. The specter changed from tyrannical Stuart kings to Klansmen and

   tyrannical Southern state governments, but Cornell pretends that the weapons laws

   enacted as part of the Black Codes had no influence on the Fourteenth

   Amendment.

         66. Cornell might have benefitted from reading the primary sources

   concerning Reconstruction and the incorporation of the right to keep and bear arms

   through the Fourteenth Amendment, as historians try to do, instead of relying on

   his own arm-waving. Of course, Cornell would also benefit from reading the many

   decisions that decided the “scope of state power to regulate arms,” often explicitly

   recognizing a right to open carry based on their state constitutions, and in some

   cases the Second Amendment, not the rarely mentioned “police power.”57



   57
      Just a few examples: Bliss v. Commonwealth, 2 Littell 90, 13 Am. Dec. 251 (Ky.
   1822) (struck down a ban on carrying concealed weapons based on state
   constitution); . Simpson v. State, 5 Yerg. 356 (Tenn. 1833) (struck down a
   conviction for “with force and arms,... being arrayed in a warlike manner, then and
   there in a certain public street and highway situate, unlawfully, and to the great
   terror and disturbance of divers good citizens of the said state, then and there
   being, an affray did make,” because “the freemen of this state have a right to keep
   and to bear arms for their common defence.” Tenn. Const. Article 11, sec. 26);
   Aymette v. State, 2 Hump. (21 Tenn.) 154, 155, 156, 158 (1840) (upheld a ban on


                                               28
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  VI.    Post-1868 Evidence

         67. Cornell insists at p. 41: “As long as state and local laws were racially

   neutral and favored no person over any other, the people themselves, acting

   through their representatives, were free to enact reasonable measures necessary to

   promote public safety and further the common good.”             Had Cornell read

   McDonald v. Chicago (2010) he would know that it was precisely the racial

   discrimination of the Black Codes that caused the 14 th Amendment to limit state

   authority in this area.58 This was the basis by which McDonald incorporated the

   Second Amendment against the states.59




   concealed carry of a Bowie knife because the Tennessee Constitution only
   protected weapons of war: “The free white men may keep arms to protect the
   public liberty, to keep in awe those who are in power, and to maintain the
   supremacy of the laws and the constitution.”); State v. Reid, 1 Ala. 612 (1840) (“ A
   statute which, under the pretence of regulating, amounts to a destruction of the
   right, or which requires arms to be so borne as to render them wholly useless for
   the purpose of defence, would be clearly unconstitutional.”); Owen v. State, 31
   Ala. 387 (1858) (upheld a ban on concealed carry, but “That section was not
   designed to destroy the right, guarantied by the constitution to every citizen, "to
   bear arms in defense of himself and the State"; nor to require them to be so borne,
   as to render them useless for the purpose of defense.”); 3 Iredell 418, 423 (N.C.
   1843) (Upholding a conviction of a bully running around armed and threatening
   people: “For any lawful purpose--either of business or amusement--the citizen is at
   perfect liberty to carry his gun. It is the wicked purpose, and the mischievous
   result, which essentially constitute the crime. He shall not carry about this or any
   other weapon of death to terrify and alarm, and in such manner as naturally will
   terrify and alarm a peaceful people.”)
   58
      McDonald v. City of Chicago, 561 U.S. 742, 779 (2010)
   59
      Id. at 790.


                                               29
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         68. As contrary evidence, in Table One Cornell cites post-Fourteenth

   Amendment state constitution arms provisions and either does not know, or

   neglects to mention that the 1889 Idaho guarantee: “IDAHO CONST. OF 1889,

   art. I, § 11: The people have the right to bear arms for their security and defense:

   but the legislature shall regulate the exercise of this right by law,” was construed

   narrowly in the decision In re Brickey (Ida. 1902). The Idaho Supreme Court

   decided the territorial-era prohibition on carrying a loaded weapon in the town of

   Lewiston, was contrary to both the 1889 Constitution and the Second Amendment.

   “Under these constitutional provisions, the legislature has no power to prohibit a

   citizen from bearing arms in any portion of the state of Idaho, whether within or

   without the corporate limits of cities, towns, and villages. The legislature may, as

   expressly provided in our state constitution, regulate the exercise of this right, but

   may not prohibit it.”60

         69. Cornell proceeds to deny Bruen’s incorporation of the Second

   Amendment through the Fourteenth Amendment where at p. 39: “The new focus

   on regulation embodied in these revised state arms bearing provisions was not a

   departure from traditional views of the robust scope of police power authority to

   regulate arms in the interests of public safety. This power was ancient and widely


   60
     In re Brickey, 8 Idaho 597, 70 P. 609, 610, 101 Am. St. Rep. 215, 1 Ann. Cas. 55
   (1902).


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   acknowledged as fundamental to Anglo-American law. Nor did the adoption of the

   Fourteenth Amendment change this fact.”           So constitutions adopted after the

   Fourteenth Amendment take precedence over an amendment that the Court has

   recognized as a limit on state power?

         70. Cornell at pp. 40-41 quotes General Sickles’ General Order No. 1 as

   evidence that the right to keep and bear arms could be limited on private property:

   “nor to authorize any person to enter with arms on the premises of another against

   his consent.” Certainly, any property owner is authorized to post a “No arms

   allowed” notice. A requirement that a property owner must provide an affirmative

   statement of permission is far different.

         71. On p. 43: “Colonial Massachusetts prohibited coming to muster with a

   loaded firearm.” This would be odd because target practice was common at

   musters. Consulting Cornell’s source: “RECORDS OF THE GOVERNOR AND

   COMPANY OF THE MASSACHUSETTS BAY IN NEW ENGLAND 98 (1853)”

   shows no such order. His citation to “1866 Mass. Acts 197, An Act Concerning

   the Militia, § 120” does seem to be such a law:

           SECTION 120. A soldier who unnecessarily or without order from
           a superior officer comes to any parade with his musket, rifle or
           pistol loaded with ball, slug or shot, or so loads the same while on
           parade, or unnecessarily or without order from a superior officer




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             discharges the same when going to, returning from or upon parade,
             shall forfeit not less than five nor more than twenty dollars.61
            72. This statute refers not to a muster but a parade. Assuming that the 19th

   century definition of parade is similar to today, this seems like a safety measure.

            73. His claim in n. 89: “The prohibition on bringing a loaded gun to muster

   stretches from 1632 to 1866 making it one of the longest standing regulations on

   firearms in the early Republic.” Citing a single act in 1866 which does not clearly

   refer to a muster does not support this claim.

            74. At pp. 45-46 Cornell lists city parks that prohibited “public carry.”

   Curiously, the only such ordinance in his Table 2 before 1868 is New York City’s

   1861 measure. He provides no citation for such an ordinance. All the smaller

   cities that Cornell lists in n. 93 have ordinance dates after 1868. In any case, Bruen

   takes precedence.


 VII.       Summary

            75. Cornell misrepresents the broadness of the carryover of English law to

   the American colonies.

            76. He misrepresents Blackstone about the importance of conserving the

   peace; argues for a unlimited democracy that the Bill of Rights exists to prevent;




   61
        1866 Mass. Acts 197, An Act Concerning the Militia, § 120.


                                                32
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         77.       Cornell argues for an unlimited power of the states to regulate

   everything with no power of the Bill of Rights to counter such abuses of majority

   power.

         78. Cornell attempts to use post-1868 laws contrary to Bruen’s clear

   instructions.

         FURTHER, DECLARANT SAYETH NAUGHT.

   I certify under penalty of perjury that the foregoing is true and correct.

               Executed on July 19, 2023.




                                            _________________
                                                  Clayton Cramer




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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF HAWAII

                                   )
   JASON WOLFORD, ALISON           )
   WOLFORD, ATOM KASPRZYCKI,       )
   HAWAII FIREARMS COALITION       )
                                   )
   Plaintiffs,                     )
                                   ) Civil Action No. 1:23-cv-00265-
                                   ) LEK-WRP
   v.                              )
                                   )
   ANNE E. LOPEZ, IN HER OFFICIAL  )
   CAPACITY AS THE ATTORNEY        )
   GENERAL OF THE STATE OF HAWAII, )
                                   )
                                   )
   Defendant                       )




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   State v. Huntley, 25 N.C. (3 Ired.) 418, 419, 40 Am. Dec. 416 (1843).....................6

   State v. Huntly, 418, 420 (N.C. 1843). ......................................................................4


           STATUTES

   1 Laws of the Republic of Texas 24 (1838)...............................................................8

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           OTHER AUTHORITIES

                                                                i
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               Declaration of Clayton Cramer in Rebuttal of Brennan Rivas


           COMES NOW, Clayton Cramer, and states as follows:



      1. I am a natural person, an adult, United States of America citizen. If called as

           a witness in this matter, I would provide the following testimony and I make

           this declaration based on personal knowledge, except where otherwise

           stated;

      2. This Declaration is being submitted to rebut the declaration submitted by Dr.

           Rivas in Wolford Et. Al. v. Lopez No. 1:23-cv-00265-LEK-WRP




      I.      Introduction


           3. This Expert Declaration and Report analyzes Dr. Rivas’ expert report

   concerning the “historical gun regulations that pertained to public carry laws, [and]

   sensitive places.” Rivas also puts a lot of work into examining Texas law on this

   subject without demonstrating that Texas was in many respects then as even now,

   an outlier to American tradition.




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      II. Qualifications


         4. My M.A. in History is from Sonoma State University in California. I

         teach history at the College of Western Idaho. I have nine published books,

         mostly scholarly histories of weapons regulation. My 18 published articles

         (mostly in law reviews) have been cited in D.C. v. Heller (2008), McDonald

         v. Chicago (2010), Jones v. Bonta (9th Cir. 2022), Young v. State (9th Cir.

         2021), State v. Sieyes (Wash. 2010), Senna v. Florimont (N.H. 2008),

         Mosby v. Devine (R.I. 2004). A comprehensive list of my scholarly works

         and           citations            can         be           found        at

         https://claytoncramer.com/scholarly/journals.htm.

         5. In several cases, my work has been cited in defense of laws limiting

         firearms ownership: State v. Roundtree (Wisc. 2021), State v. Christen

         (Wisc. 2021), King v. Sessions (E.D.Penn. 2018).

         6.    I am being compensated for services performed in the above-entitled

   case at an hourly rate of $150 for expert declarations. My compensation is not

   contingent on the results of my analysis or the substance of any testimony.


         III. The History of Public Carry Laws in America


         7. Rivas starts out by overruling the Supreme Court, rejecting Bruen’s

   findings on public carry laws. At ¶10:


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             Americans of the late eighteenth and nineteenth centuries had laws
             that broadly prohibited the carrying of firearms and other deadly
             weapons in public. Early versions of these regulations, particularly
             those enacted in the eighteenth century by colonial and early
             American legislatures, tended to draw heavily from legal language
             with deep roots in the English common law tradition, reaching at
             least as far back as the Statute of Northampton from 1328.
           8. Bruen is very clear that the Statute of Northampton and all the colonial

   and early Republic laws supposedly derived from it are irrelevant to interpretation

   of the Second Amendment:

             At the very least, we cannot conclude from this historical record
             that, by the time of the founding, English law would have justified
             restricting the right to publicly bear arms suited for self-defense
             only to those who demonstrate some special need for self-
             protection.1
           9. Having started on the wrong foot, Rivas trips over herself demonstrating

   that she is not a scholar. At ¶11 her footnote 4 attempts to demonstrate that states

   adopted laws prohibiting carrying of arms. “1786 Va. Laws 33, ch. 21, An Act

   forbidding and punishing Affrays (Ex. D).” This is 1786 ch. 21:

                                          CHAP. 21
             An act for giving further time to officers, soldiers, sailors, and
             marines, to settle their arrears of pay and depreciation, with the
             auditor of public accounts.2




   1
       New York State Rifle & Pistol Assn, Inc. v. Bruen, 142 S. Ct. 2111, 2142 (2022).
   2
       Va. Laws ch. 21 at 278 (1786).


                                                 3
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          10. It appears that Rivas meant 1786 Va. Ch. 49, at 334, which is the Statute

   of Northampton (1328). (It really helps to check primary sources, at least if you

   are an “expert.”) Again, progeny of the Statute of Northampton rejected by Bruen.

          11. Still in n. 4:

           1835 Mass. Acts 750 (“If any person shall go armed with a dirk,
           dagger, sword, pistol, or other offensive and dangerous weapon,
           without reasonable cause to fear an assault or other injury, or
           violence to his person, or to his family or property, he may on
           complaint of any person having reasonable cause to fear an injury,
           or breach of the peace, be required to find sureties for keeping the
           peace.”)
          12. This a surety bond law, also rejected by Bruen:

           Surety Statutes. In the mid-19th century, many jurisdictions began
           adopting surety statutes that required certain individuals to post
           bond before carrying weapons in public. Although respondents
           seize on these laws to justify the proper-cause restriction, their
           reliance on them is misplaced. These laws were not bans on public
           carry, and they typically targeted only those threatening to do
           harm.3
          13. “Francois Xavier Martin, A Collection of Statutes of the Parliament of

   England in Force in the State of North Carolina, 60-61 (Newbern 1792)” As the

   title makes clear, this was not a statute passed by the North Carolina Legislature.

   The North Carolina Legislature tasked Martin to sift through all existing British

   statutes that might have some applicability to North Carolina. “I began at Magna

      3
       New York State Rifle & Pistol Assn, Inc. v. Bruen, 142 S. Ct. 2111, 2148
   (2022)


                                                4
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   Charta. The old statutes, before that period are generally acknowledged to be rather

   a matter of mere curiosity, and scarcely an authentic record of any of them is

   extant.... I have inserted every statute unrepealed by subsequent acts, or which did

   not appear so glaringly repugnant to our system of government as to warrant its

   suppression.”4

         14. Curiously, when the North Carolina Supreme Court decided State v.

   Huntly (N.C. 1843), a case which charged the defendant under the Statute of

   Northampton, the opinion held that “whether this statute was or was not formerly

   in force in this State, it certainly has not been since the first of January, 1838, at

   which day it is declared in the Revised Statutes, (ch. 1st, sect. 2,) that the statutes

   of England or Great Britain shall cease to be of force and effect here.”5 One might

   expect that if this statute had been adopted legislatively, as Rivas claims, that it

   might have merited mention.

         15. “1821 Me. Laws 285, ch. 76, § 1” Rivas at least quotes enough of the

   text to demonstrate that this is more progeny of Statute of Northampton. The

   section that she did not quote in full is:

           to cause to be staid and arrested, all affrayers, rioters, disturbers or
           breakers of the peace, and such as shall ride or go armed
   4
     Xavier Martin, A COLLECTION OF STATUTES OF THE PARLIAMENT OF ENGLAND IN
   FORCE IN THE STATE OF NORTH CAROLINA, iii (1792).
   5
     State v. Huntly, 418, 420 (N.C. 1843).


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          offensively, to the fear or terror of the good citizens of this State,
          or such others as may utter any menaces or threatening speeches;6
          [emphasis added]

         16. Nor does she quote from the section which says what persons so jailed

   must do to regain their freedom:

          shall require of the offender to find sureties to appear and answer
          for his offence, at the Supreme Judicial Court, or Circuit Court of
          Common Pleas, next to be held within or for the same county, at the
          discretion of the Justice, and as the nature or circumstances of the
          case may require7

         17. At ¶11, again Bruen specifically rejects the relevance of surety laws:

          Surety Statutes. In the mid-19th century, many jurisdictions began
          adopting surety statutes that required certain individuals to post
          bond before carrying weapons in public. Although respondents
          seize on these laws to justify the proper-cause restriction, their
          reliance on them is misplaced. These laws were not bans on public
          carry, and they typically targeted only those threatening to do
          harm.8

         18. At ¶13: “The language of concealed carry laws might at first suggest that

   open carry of firearms was accepted and commonplace, but that was not the case.

   Individuals generally did not view concealed carry laws as giving permission to

   openly carry in populated places during a person’s ordinary activities.” Her source

   for this claim is State v. Huntley, 25 N.C. 418 (1843).



   6
     1821 Maine Laws ch. 76 at 353.
   7
     Id.
   8
     New York State Rifle & Pistol Assn, Inc. v. Bruen, 142 S. Ct. 2111, 2148 (2022).


                                                6
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           19. State v. Huntley (N.C. 1843) involved prosecution of a bully:

             His Honor instructed the jury, that if the facts charged in the
             indictment were proven to their satisfaction, the defendant had been
             guilty of a violation of the law, and that they ought to render their
             verdict accordingly. In the investigation before the jury it appeared,
             among other things, that the defendant was seen by several
             witnesses, and on divers occasions, riding upon the public highway,
             and upon the premises of James H. Ratcliff (the person named in
             the indictment), armed with a double-barrelled gun, and on some of
             those occasions was heard to declare, "that if James H. Ratcliff did
             not surrender his negroes, he would kill him"; at others, "if James
             H. Ratcliff did not give him his rights, he would kill him"; on some,
             that "he had waylaid the house of James H. Ratcliff in the night
             about daybreak, and if he had shown himself he would have killed
             him; that he showed himself once, but for too short a time to enable
             him to do so, and that he mistook another man for him, and was
             very near shooting him."9 [emphasis added]
           20. Huntley was not simply armed, but also making death threats; he came

   close to shooting someone he mistook for the object of his wrath. To call this “to

   the terror of the people” seems quite clear. Yet the North Carolina Supreme Court

   while upholding the conviction made it clear that riding around armed violated no

   laws:

             [I]t is to be remembered that the carrying of a gun per se constitutes
             no offence. For any lawful purpose—either of business or
             amusement—the citizen is at perfect liberty to carry his gun. It is
             the wicked purpose—and the mischievous result—which
             essentially constitute the crime. He shall not carry about this or any
             other weapon of death to terrify and alarm, and in such manner as


   9
       State v. Huntley, 25 N.C. (3 Ired.) 418, 419, 40 Am. Dec. 416 (1843).


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               naturally will terrify and alarm, a peaceful people.10 [emphasis
               added]
              21. She also cites State v. Smith, 11 La. Ann. 633 (1856). Her quotation is

   misleading. The Louisiana Supreme Court decided that: “A partial concealment of

   the weapon, which does not leave it in full open view, is a violation of the statute.”

   Rivas’ quotation concerns what the decision called “to the extremely unusual case

   of the carrying of such weapon in full open view, and partially covered by the

   pocket or clothes.” If you were openly carrying a weapon and it was partially

   covered, this was the “unusual case”; not open carry which was not prohibited or

   concealed carry which the law prohibited.

              22. Rivas also has either cherry-picked her sources, or she knows little of the

   case law on this. Multiple antebellum decisions recognized a right to carry arms,

   protected by either the state constitution’s arms provision or more rarely, the

   Second Amendment.11



   10
        Id.
         11
         State v. Chandler, 5 La. An. 489, 490, 491 (1850) (upholding a concealed
   carry ban, but: “It interfered with no man’s right to carry arms (to use its own
   words), “in full open view,” which places men upon an equality. This is the right
   guaranteed by the Constitution of the United States, and which is calculated to
   incite men to a manly and noble defence of themselves”); Smith v. State, 11 La.
   An. 633, 634 (1856) (“The statute against carrying concealed weapons does not
   contravene the second article of the amendments of the Constitution of the United
   States. The arms there spoken of are such as are borne by a people in war, or at
   least carried openly.”); Dred Scott v. Sandford, 60 U.S. 393, 417 (1857) (“It would


                                                    8
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         23. At ¶28, Rivas uses English v. State (Tex. 1872) to justify a very narrow

   definition of sensitive places. First of all, the statute and decision both postdate the

   ratification of the 14th Amendment, which one of the dates Bruen has indicated

   have significance to determining the meaning of the Second Amendment as

   incorporated against the states.

           The Second Amendment was adopted in 1791; the Fourteenth in
           1868. Historical evidence that long predates or postdates either time
           may not illuminate the scope of the right. With these principles in
           mind, the Court concludes that respondents have failed to meet

   give to persons of the negro race, who were recognized as citizens in any one State
   of the Union,… and to keep and carry arms wherever they went.”); Cockrum v.
   State, 24 Tex. 394, 401, 402, 403 (1859) (Responding to defendant’s claim that a
   sentence enhancement for use of a Bowie knife in manslaughter violated his rights
   under the Second Amendment: “The object of the first clause cited, has reference
   to the perpetuation of free government, and is based on the idea, that the people
   cannot be effectually oppressed and enslaved, who are not first disarmed. The
   clause cited in our Bill of Rights, has the same broad object in relation to the
   government, and in addition thereto, secures a personal right to the citizen. The
   right of a citizen to bear arms, in the lawful defence of himself or the State, is
   absolute…. A law cannot be passed to infringe upon or impair it, because it is
   above the law, and independent of the law-making power.”); Bliss v.
   Commonwealth, 2 Littell 90, 13 Am. Dec. 251, 252, 253 (1822) (Striking down a
   ban on concealed carry of arms: “That the provisions of the act in question do not
   import an entire destruction of the right of the citizens to bear arms in defense of
   themselves and the state, will not be controverted by the court; for though the
   citizens are forbid wearing weapons, concealed in the manner described in the act,
   they may, nevertheless, bear arms in any other admissible form. But to be in
   conflict with the constitution, it is not essential that the act should contain a
   prohibition against bearing arms in every possible form; it is the right to bear
   arms in defense of the citizens and the state, that is secured by the constitution, and
   whatever restrains the full and complete exercise of that right, though not an entire
   destruction of it, is forbidden by the explicit language of the constitution.”
   [emphasis added])


                                                 9
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           their burden to identify an American tradition justifying New
           York's proper-cause requirement.12
         24. English was decided based on the Texas Constitution’s right to keep and

   bear arms provision; Bruen’s use of the Second Amendment trumps English for

   that reason.

         25. Rivas puts great emphasis on how the 1871 Texas law was intended to

   protect the freedmen. It is therefore interesting to see how English ends:

           The law under consideration has been attacked upon the ground
           that it was contrary to public policy, and deprived the people of the
           necessary means of self-defense; that it was an innovation upon the
           customs and habits of the people, to which they would not
           peaceably submit. We do not think the people of Texas are so bad
           as this, and we do think that the latter half of the nineteenth century
           is not too soon for Christian and civilized states to legislate against
           any and every species of crime. Every system of public laws should
           be, in itself, the purest and best system of public morality. We will
           not say to what extent the early customs and habits of the people of
           this state should be respected and accommodated, where they may
           come in conflict with the ideas of intelligent and well-meaning
           legislators. A portion of our system of laws, as well as our public
           morality, is derived from a people the most peculiar perhaps of any
           other in the history and derivation of its own system. Spain, at
           different periods of the world, was dominated over by the
           Carthagenians, the Romans, the Vandals, the Snevi, the Allani, the
           Visigoths, and Arabs; and to this day there are found in the Spanish
           codes traces of the laws and customs of each of those nations
           blended together into a system by no means to be compared with
           the sound philosophy and pure morality of the common law.13

   12
      New York State Rifle & Pistol Assn, Inc. v. Bruen, 142 S. Ct. 2111, 2119
   (2022).
   13
      English v. State, 35 Tex. 473, 479, 480, 14 Am. Rep. 374 (1872).


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           26. The arms provision of the Texas Constitution of 1836 is clearly of

   American, not Spanish origin:

             Fourteenth. Every citizen shall have the right to bear arms in
             defence of himself and the republic. The military shall at all times
             and in all cases be subordinate to the civil power. Fifteenth. The
             sure and certain defence of a free people is a well regulated militia;
             and it shall be the duty of the legislature to enact such laws as may
             be necessary to the organizing of the militia of this republic.14

           27. At ¶28: “The court held that whatever conduct offends against public

   morals or public decency comes within the range of legislative authority.” This

   train left the station with Lawrence v. Texas (2004) and Roe v. Wade (1973), both

   appropriately enough originating in Texas. Is there anything that can withstand the

   Bill of Rights that “offends against public morals or public decency”?

           28. At ¶29: “In the late 1870s and throughout the 1880s, Texas appellate

   judges consistently applied the sensitive places law without questioning its

   constitutionality.”    Did they ever question the constitutionality of segregated

   schools? This is not a very persuasive argument, except to the last remaining

   segregationist.

           29. At ¶32, Rivas argues that Bruen’s treatment of Texas law as an outlier

   was wrong because a number of other states passed similar laws after 1868. This

   simply demonstrates that Rivas wants to overrule Bruen.

      14
           1 Laws of the Republic of Texas 24 (1838).


                                                  11
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         30. In addition to the errors in Rivas ¶15 and beyond discussion of firearms

   prohibition in Texas, this time period postdates the 1868 ratification of the 14th

   Amendment and the Second Amendment as incorporated against the states, making

   this discussion irrelevant.


   IV. Summary


         31. Rivas claims that public carry of firearms was generally prohibited in

   towns and even if open carry was legal, it was not commonplace. The first

   statement is false. The second is probably unknowable. The most commonplace

   actions of life are seldom recorded.

         32. Rivas asserts that protection of “public gathering places” was the norm

   or at least not outliers, yet her evidence is all post-1868 and largely in the

   Reconstruction South.

         33. At ¶39: “More time is needed to provide a comprehensive overview of

   this subject. There are likely as-yet unidentified analogous historical laws,

   particularly municipal ordinances. More research needs to be done surrounding the

   development of American towns and cities, the relative number and size of

   analogous sensitive places outside of government buildings, and the historical

   views of Americans regarding the propriety and legality of carrying weapons in

   those analogous spaces at earlier points in time.” Get back to us when you have


                                              12
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   evidence. So far, what Rivas has is a desire to overturn Bruen largely with claims

   already rejected by Bruen.

         FURTHER, DECLARANT SAYETH NAUGHT.

   I certify under penalty of perjury that the foregoing is true and correct.

             Executed on July 19, 2023.




                                           _________________
                                                  Clayton Cramer




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